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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re       Carlos A Rodriguez                                                                               Case No.
                                                                                 Debtor(s)                    Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     1,500.00
             Prior to the filing of this statement I have received                                        $                     1,500.00
             Balance Due                                                                                  $                         0.00

2.     $    338.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a. [Other provisions as needed]
               This fee is limited to the following: Consultations, preparation of scheduals and drafting of plan (including
               amended plans) in chapter 13 cases and filing of reaffirmation agreements if necessary; appearance at one
               Section 341 meeting and one confirmation hearing; obtaining reinstatement figures, if applicable. The fee may be
               reduced at the discretion of the undersigned.

7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, including 522(f) motions,
               relief from stay actions or any other adversary proceeding and state court proceedings. The above fee does not
               include any motions to sell property (either real or personal), motions to clear real estate title, motions for
               reinstatement and rehearing, motions to purchase automobiles, or motions for modification. The Debtor has
               agreed to pay counsel for the Debtors for all additional work preformed at the rate of $250.00 per hour. This fee
               does not include appearance at any Section 2004 examinations or any other items not included above.
               Should the debtor convert the case to one under Chapter 7 this firm will charge up to $1,000.00 in additional
               attorney's fees and $15.00 in costs. Pursuant to the local rules there will be additional charges for
               post-confirmation modification of plan $500.00. Motion for hardship discharge $500.00. Motion to rehear, vacate
               dismissal, shorten prejudice period or reinstate case $500.00. Motion to avoid lien $500.00. Defense of
               post-confirmation motion for relief from stay or motion to dismiss case $250.00. Motion to incur post petition
               debt $500.00. Motion to value real property $775. Motion to value personal property $525.00. Motion for relief
               from stay $525.00.




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                                                               Debtor(s)

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
                                             (Continuation Sheet)
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     December 8, 2021                                                           /s/ Michael A. Frank
     Date                                                                       Michael A. Frank 339075
                                                                                Signature of Attorney
                                                                                Law Offices of Frank & De La Guardia
                                                                                10 NW Le Jeune Rd
                                                                                Suite 620
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                                                                                Name of law firm




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